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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
AT HOUSTON, TEXAS

IN RE: SUPPLEMENT SPOT, LLC,

DEBTOR, CASE NO. 06-35903

CHAPTER 11
YOUNG AGAIN PRODUCTS, INC.,
Plaintiff,

vs. ADVERSARY NO. 07-3019

SUPPLEMENT SPOT, LLC, ET AL,
Defendants,

AMAAAMMA MAMA

DEFENDANT, JOHN ACORD'S, MOTION TO COMPEL DISCOVERY
AND DEPOSITIONS AND TO ENLARGE TIME FOR COMPLETION OF DISCOVERY

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE OF SAID COURT:

COMES NOW, the Defendant, John Acord ("ACORD"), and files
this his Motion for the entry by this Court of an order compel-
ling discovery and depositions in this case and enlarging the
time within which discovery may be completed by the parties and,
in support of said motion, would respectfully show unto the Court
the following:

BACKGROUND FACTS
I.

1. Previously in September of 2007, Defendant, John Acord,
who was acting in propria persona at the time, served a Request
for Production on Plaintiff, Young Again, through its counsel,
Margaret McClure. That Request for Production directed Plain-
tiff, Young Again, to produce the records requested at the office
of Plaintiff located at 1919 Cattle Drive, Magnolia, Texas so
they could be "inspected" and then "copied" in accordance with
Federal Rules of Civil Procedure 34(b).

2. This production was never made in accordance with Defen-
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dant Acord's discovery request. Instead, Defendant Acord re-

ceived correspondence from Plaintiff's attorney McClure offering

to:

..-send copies of all responsive documents to (her)
office provided you pay the costs of transportation and
copying. (And stating)... I understand you made the
Freemans come to Houston in the Maryland case to in-
spect documents instead of sending them up to Larry L.
for inspection...

on November 29, 2007. Defendant Acord wrote a response to Mc-

Clure's November 29, 2007 letter on the same date stating:

Yes, I will pay. That is fine with me. I will pay for

the transportation and copying. Let me know when they

are available.

The records Defendant Acord requested have never been made avail-
able to his counsel, nor were they ever mentioned from the time
Defendant's current counsel made his appearance as Defendant
Acord's counsel in the contempt action on January 11, 2008 until
Defendant Acord's counsel wrote a letter demanding production of
same.

3. In December, 2007, Trustee, Ben Floyd, through his
counsel, Randall Rios, served a Notice of Deposition on Plain-
tiff, Young Again, directing Young Again to produce its Chief
Executive Officer, Roger Mason for deposition. The Trustee's
Notice of Deposition served on Young Again contained a subpoena
duces tecun. Mason appeared at the date and time set for his
deposition, but refused to produce any documents, claiming he had
had inadequate notice of document production and was demanding
thirty days prior notice of any document demands before he woulda
produce.

4. Mason's deposition ended, more than thirty days passed
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after the Trustee's subpoena had been served, yet no documents

were forthcoming.

5. After reading the depositions and reviewing the file in
this case including Defendant Acord's pro se discovery demands
and Plaintiff, Young Again's, alleged responses thereto, Defen-
dant's counsel wrote a demand letter to attorney McClure, Plain-
tiff, Young Again's, counsel demanding immediate production of
the documents requested by Acord and the documents subpoenaed by
the Trustee.

6. Plaintiff, Young Again's, counsel produced no documents
requested by Defendant Acord, but, instead claimed they were owed
$800 for transportation and copying expenses before they had any
duty to produce. Neither attorney McClure nor attorney Freeman
ever responded to Defendant Acord's demand for production of the
documents under the Trustee's subpoena. Instead, the Trustee's
counsel received a box of documents plus two CD's a few days
later after Izen's demand. When the Trustee attempted to open the
CD's, he was unable to do so. The documents in the box were
unorganized and there was no indication of which documents corre-
sponded with which subpoena request. The Trustee's counsel
forwarded the CD's to a computer expert who informed him that
they were unreadable. No further discovery or production was
received from Plaintiff, Young Again, or its counsel until Defen-
dant Acord's counsel Izen notified these counsel that he intended
to file a Motion to Compel and served four Notices of Deposition
requiring the depositions of party witnesses, Roger Mason, Ivey

Mason, and witnesses, Jane Batts King, and Vickie Pitts. After
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these notices of Depositions were served and the depositions were
scheduled for April 4, 2008, Defendant Acord's counsel spoke with
Randy Rios concerning the depositions and asked once more whether
the Trustee's counsel had received readable copies of the CD's.
Attorney Rios responded, "No." Realizing that Plaintiff did not
intend to produce the documents subpoenaed by the Trustee or
requested by Defendant Acord before the deposition of Roger Mason
or Ivey Mason, or the other witnesses, Defendant Acord's counsel
served written notice on all attorneys of record that the deposi-
tions noticed by Defendant Acord were cancelled.

7. A true and correct copy of the series of letters ex-
changed between attorney Freeman, attorney Izen, attorney Mc-
Clure, and Defendant, John Acord, acting pro se, are attached
hereto as Exhibits A and B. A true and correct copy of Defen-
dant, John Acord's Request for Production is attached hereto as
Exhibit Cc. A true and correct copy of Izen's letter demanding
production from the Plaintiff is attached hereto as Exhibit D.
Plaintiff, Young Again, through its counsels, Freeman and Mc-
Clure, apparently insist that they have the unilateral right to
determine what is a reasonable place for the making of the pro-
duction sought by Defendant Acord under his Request for Produc-
tion and that they can produce documents without any organization
or accompanying indication of how or why each document produced
corresponds with a specific discovery request. Defendant Acord's
counsel Izen has been "informed" by the Trustee's counsel that
the Trustee has received additional CD's from Plaintiff, Young

Again, on Monday, March 31, 2008. Defendant Acord's counsel was
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informed by Defendant Acord that the CD's contain three thousand
pages of unorganized financial documents representing transac-
tions of the Debtor (Supplement Spot) with Paypal and Washington
Mutual. Even if the CD's have now been opened, Defendant's
counsel would not have had adequate time to open the CD's, review
the digitally recorded documents contained on the CD's, analyze
them for relevance, and be ready to use same at the August 4,
2008 depositions which were previously noticed.

8. Plaintiff's final response to Defendant Acord's effort to
obtain the requested production is attached as Exhibit E. While
attorney Freeman claims:

It is not reasonable to require the responding party to

ship thousands of pages of original documents half-way

across the country to Mr. Singer's offices in Texas.

The risk of loss or damage in transit is too great.
there is no proof in this record that Plaintiff, Young Again, has
maintained "thousands of records" relevant to Defendants unsatis-
fied document requests which would have to be shipped for Defen-
dant Acord's inspection. Neither attorneys McClure or Freeman,
nor anyone else associated with Plaintiff, Young Again, ever
provided any documentation to Defendant Acord or, later, to his
counsel, stating the number of pages of records that would need
to be reviewed, the amount of relevant pages which would have to
be copied, or the cost of transportation. Defendant Acord thor-
oughly exhausted all reasonable efforts to resolve the discovery
disputes outlined above before bringing this motion. Despite the
fact that Plaintiff, Young Again, filed suit in the Southern
District of Texas, has prosecuted this action as an Adversary,

and purports to claim direct damages in this case against the
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Debtor, Supplement Spot, as well as Defendants, John Acord and
Marcella Ortega, not one document supporting the basis of Plain-
tiff, Young Again's, alleged damages has yet to be produced
despite the fact that this case has been pending since February
of 2007. Attorney Freeman "determined" that the production of
documents in the Southern District of Texas where Plaintiff filed
suit was unreasonable. Attorney Freeman, as noted in Defendant
Acord's letter citing In Re: Dow Corning (Exhibit D) could not
unilaterally amend the place for production stated in Defendant
Acord's Request. Defendant Acord has never refused to pay the
costs of copying of any records which are relevant to his Docu-
ment Requests. Neither Plaintiff nor its counsel have the right
to extort money from a Defendant who requests documents without
providing a breakdown of the number of pages to be copied and the
specific cost of transportation. Contrary to attorney Freeman's
claims, in the absence of Bate stamped documents prepared for
production, or some other reliable basis of determining the costs
of production and transportation, parties are not free to demand
arbitrary sums of money before they make production.

9. Plaintiff has no valid excuse for its failure to timely
produce readable documents subpoenaed by the Trustee. Plain-
tiff's continuing failure to do so forced Defendant Acord to
cancel depositions which he scheduled in an effort to meet this
Court's April 14, 2007 discovery deadline.

10. Plaintiff's counsel, Margaret McClure, complained that
Defendant Acord had not verified his interrogatory answers based

on personal knowledge. Realizing that attorney McClure was
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"setting up" Defendant Acord for another Motion for Sanctions
through her communications, Defendant Acord's counsel immediately
contacted Defendant Acord and obtained a copy of the verification
Defendant Acord had used. A true and correct copy of that veri-
fication is attached hereto as Exhibit F. After reviewing Exhi-
bit F, Defendant Acord's counsel drafted a verification form
"based on personal knowledge" for Defendant Acord, submitted the
form to Defendant Acord to execute, and served a full copy of the
Answers to Interrogatories, verified on personal knowledge by
Defendant Acord, on attorney McClure in an effort to avoid her
tmeet and confer" threat. Imagine Defendant Acord's counsel's
surprise when, after he demanded to know where Acord got the
defective verification, Defendant Acord produced emails from
Attorney McClure providing him the verification used by Roger
Mason to answer his interrogatories. Plaintiff's counsel served
Answers to Interrogatories on Defendant Acord on November 21,
2007 containing the same objectionable language which attorney
McClure condemned and wanted changed! A true and correct copy of
Roger Mason's verification from his interrogatory answers is
attached to this motion and marked Exhibit G. Clearly, Defendant
Acord did not inject the "on knowledge and belief" or "informa-
tion and belief" gag into this case. This bad faith tactic was
utilized by the Plaintiff's executive Roger Mason or whoever
drafted his verification and Defendant Acord, acting pro se,
copied it in his ignorance. In any event, Defendant Acord does
not have time to "meet and confer" with Plaintiff's attorney's

concerning this discovery defect. This Court should enter an
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order requiring Plaintiff, Young Again, to execute a proper
verification of its discovery responses and interrogatories, in
compliance with Rule 33(b) Federal Rules of Civil Procedure
instanter, upon its ruling on this motion.

11. Based on all of the above facts, and the authorities
submitted herewith, Defendant Acord moves this Court to enter
orders compelling the production of the documents requested by
Defendant Acord in Defendant Acord's pro se Request for Produc-
tion, and all the documents subpoenaed by the Trustee from the
Plaintiff in the form and with the content and organization
required by Rules 33 and 34 of the Federal Rules of Civil Proce-
dure, at a date and time certain to be set by this Court. Defen-
dant Acord further moves this Court to enter an order setting the
depositions of Young Again's corporate executives, Roger Mason
(President), and Ivey Mason (Vice President) and witnesses, Jane
Batts King and Vickie Pitts, on a date and time which will allow
Defendant Acord's counsel and counsel for the trustee to have
meaningful discovery before taking, retaking, and/or attempting
to complete such depositions. Defendant Acord also moves this
Court for the entry of an order awarding him his reasonable costs
against the Plaintiff for the necessity of the filing, prepara-
tion, and presentation, of this motion.

LEGAL ARGUMENT AND AUTHORITY
Il.

1. DEFENDANT ACORD SPECIFIED A REASONABLE PLACE AND TIME FOR
PRODUCTION OF PLAINTIFF'S RECORDS.

Plaintiff claims in its Adversary Complaint that it has

suffered hundreds of thousands dollars, if not millions in dan-
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ages based on Debtor's Bankruptcy filing. Surely Plaintiff's
counsel and the Plaintiff performed the "adequate" factual and
legal investigation required by Rule 11, Federal Rules of Civil
Procedure, prior to filing the Adversary suit against Defendants
and the Trustee. Yet since September, 2007, neither Plaintiff
nor its counsel have produced one shred of evidence which would
support an award of damages based on any cognizable legal claim
under Federal Bankruptcy law or applicable state law. Both the
Trustee and Defendant Acord demanded production of the documents
and evidence on which the Plaintiff's damages claims are based.
Defendant Acord designated the place for production of the docu-
ments demanded in his Request as follows:
John Acord
1919 Cattle Drive
Magnolia, Texas
Plaintiff, through its attorney Freeman, wrongly claimed when
contacted by Defendant Acord's counsel Izen, that any inspection
of documents had to be performed at Young Again's place of busi-
ness. Later, Freeman's claim morphed into an argument that it was
"unreasonable" to force Plaintiff, Young Again, to transport
thousands of documents to Houston, Texas. Plaintiff's counsel
Freeman and McClure demanded payment of $800 for "copying and
transportation" without providing Defendant or his counsel with
any Bate stamped, and/or itemized list or description of the
"thousands of pages" of documents which they claimed they inten-
ded to copy and transport.
As stated in In Re: Dow Corning Corporation, Case No. 95-

20512 (E.D.Mich. 2000), Plaintiff and his counsel are not free to
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|
amend the place for production of the records requested by the
Defendant to suit their fancy. Plaintiff, Young Again, elected
to sue Defendant Acord in this forum. Defendant Acord's demanded
in his Request for Production of Documents that the documents
requested be produced by Plaintiff at the offices of John Acord,
1919 Cattle Drive, Magnolia, Texas. Despite having been provided
with Defendant Acord's demand for production of the documents
which cited Dow Corning, Plaintiff's counsel ignored the teach-
ings of that case and, instead, cited other authorities in a
follow up letter which it claimed gave it the right to unilater-
ally amend Defendant Acord's production request and to designate
the situs of production. See Exhibit E. An examination of all
of those cases reveals that only two of the decisions awarded
transportation costs for documents to a responding party and that
those parties were Defendants who had been sued by a Plaintiff
that was requesting production of the documents in the forum
within which Plaintiff had chosen to file suit. The authorities
which Plaintiff claims to rely on and wants "reconsidered" by the
Defendant do not support Plaintiff's claim that Plaintiff, as the
responding party, may redesignate the place for production speci-
fied in Defendant Acord's Request based on its unsubstantiated
claim that it is producing thousands of pages of documents rele-
vant to Defendant Acord's requests. Nor do such authorities
support Plaintiff's claim that it can force the requesting party
to pay an arbitrary amount ($800) for copying and transportation
of documents which the Defendant has never seen without a de-

scription of the documents to be copied and a delineation of the

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specific amounts for copying and transportation which the Plain-
tiff claims it has incurred. Plaintiff, Young Again, has pro-
duced no proof that the place of production specified by the
Defendant in Defendant's Request for Production is unreasonable.
Plaintiff claims undue burden and expense in meeting Defen-
dant Acord's discovery demands. Under Rule 26(c) Federal Rules
of Civil Procedure, discovery should be allowed, despite Plain-
tiff, Young Again's, claims here of undue burden and expense:

Unless the hardship is unreasonable in the light of the
benefits to be secured from the discovery.

Wright, Miller, and Marcus, Federal Practice and Procedure,

 

Section 2214, P. 435 (1994).

This Court should enter an order compelling Plaintiff to
produce all the documents in its possession, custody, and con-
trol, demanded in Defendant's First Request for Production in the
manner required by Rule 34. This Court should impose an award of
costs and attorney's fees against the Plaintiff, Young Again, for
the necessity of the preparation, filing, and presentation, of
this Motion.

2. THE "AGREEMENT" ALLUDED TO BY PLAINTIFF'S COUNSEL PURPORTED-
LY ENTERED INTO BY DEFENDANT ACORD FOR PAYMENT OF TRANSPOR-
TATION AND COPYING COSTS WAS A MERE EXCHANGE OF LETTERS
SINCE PLAINTIFF, YOUNG AGAIN, NEVER PROVIDED A DESCRIPTION
OF THE DOCUMENTS TO BE COPIED, THE NUMBER OF PAGES TO BE
COPIED, THE SPECIFIC COPYING COST PER PAGE, WHICH PLAINTIFF
PROPOSED TO CHARGE, AND THE ALLEGED TRANSPORTATION COST OF
SUCH DOCUMENTS.

In an effort to prove the existence of an agreement waiving
Defendant Acord's rights to production of the documents, Defen-

dant Acord requested at the place Defendant designated in his

Request for Production, Plaintiff's attorney Freeman produced two

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letters. These emails exchanged between Plaintiff's attorney
McClure and Defendant Acord (while acting pro se) reflect a
demand by Plaintiff's counsel McClure that Defendant Acord pay
the costs of copying and transportation of documents, and a
statement from Defendant Acord that he would pay for transporta-
tion and copying. If these two letter were a proposed agreement
the agreement was never consummated. Plaintiff, Young Again,
demanded the payment of $800 from Defendant Acord without provi-
ding any detailed list of the number of copies Plaintiff proposed
to make of the relevant documents, the description of the rele-
vant documents, and the actual cost of transportation.

While Plaintiff claims now that thousands of pages of docu-~
ments would have to be transported cross country in response to
Defendant Acord's Request for Production, Plaintiff never pro-
duced proof that the payment of $800.00 would cover the costs of
the copying and transportation of thousands of pages of docu-

ments. As stated in Dew v. Thirty Ninth Street Realty, 99 Civ.

 

12343 (S.D.N.Y. 2001), Plaintiff's complaints of burden and
overbreadth are unsupported.

The costs of responding to discovery demands are generally
paid for by the responding party and, in the absence of any
showing of extraordinary burden or other good cause for deviating

from that Rule, the Court will not shift costs. Brasco, Inc. v.

 

Klipo, 99 Civ. 3014 (S.D.N.Y. 2004). Citing Zubulake v. Keple
UBS Warburg, LLC, 216 F.R.D. 280, 283 (S.D.N.Y. 2003). (Noting

that the presumption is that the responding party must bear the

expense of complying with discovery requests, and that cost-

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shifting is generally only appropriate when the requests run
afoul of Rule 26(b)(2) and only for good cause shown). Brasco, a
case cited by Plaintiff, lends no support to Plaintiff's argu-
ments. Under Brasco and Zubulake, a Plaintiff claiming Defen-
dant's place for production is unreasonable bears the burden of
proving that claim. Plaintiff, Young Again, will be unable to do
so on this record.

While Plaintiff's counsel Freeman claims that Plaintiff,
Young Again, has already copied the documents in question at
great expense to Plaintiff, Plaintiff, Young Again, is entitled
to no other expenses other than copying costs. Furthermore, if
Plaintiff, Young Again, actually organized and labelled the
documents in question in compliance with Rule 34, it should have
provided Defendant Acord with a list of the number of pages of
relevant documents along with the copying costs per page and the
cost of transportation. Cardenas v. Dorel Juvenile Group, Inc.,
Civil Action No. 04-2478 (Kan. 2005). As stated in Williams Ve
Taser International, Inc., (N.D. GA, 2006), it is impossible to
determine whether the documents responsive to Defendant Acord's
Requests for Production are as voluminous as Plaintiff claims
since Plaintiff has never identified then. Indeed, the only
documents produced to the Trustee were on CD's which hardly
justifies an $800 copying and transportation cost even if copied
and sent twice instead of once.

3. DEFENDANT ACORD NEED ONLY PAY THE COSTS FOR COPYING RELEVANT
DOCUMENTS.

Contrary to Plaintiff's claims, Defendant Acord is not

required to pay the costs of copying of documents provided by

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Plaintiff which are not relevant to his Request for Production.

While Federal Rule of Civil Procedure Rule 34 contemplates
that the requesting party must pay for copies which are relevant
to his request, the responding party must pay the costs of
searching and analyzing the documents in its possession, custody,
and control, in order to "find" the relevant documents which must
be produced.

4. INTERROGATORY ANSWERS MUST BE VERIFIED BASED ON PERSONAL
KNOWLEDGE.

All interrogatory responses must be signed under oath by the
party making them. Waqner v. Drivit Systems, Inc., No. 4:00-CV-
3072 (Neb. 2001). Fed. R. Civ. Pr. 33(a).

PRAYER

WHEREFORE, ABOVE PREMISES CONSIDERED, Defendant, John Acord
prays that this Honorable Court entertain this motion and, after
due consideration of same, that this Court enter its Order: (1)
compelling Plaintiff, Young Again, to produce all documents in
its possession, custody, and control, responsive to Defendant
Acord's Requests for Production and the Trustee, Ben Floyd's,
Subpoena in full conformity with the requirements of Rule 34,
Fed. R. Civ P., at a date and time certain; (2) compelling
Plaintiff, Young Again, to provide a description of the number of
pages of documents, the copying costs of such documents, and the
alleged transportation costs of such documents, which it claims
supports its demand for payment of $800.00 by the Defendant; (3)
compelling the Plaintiff, Young Again, to produce the documents
responsive to Defendant Acord's Request for Production at the

offices of Robert Singer, counsel for Marcella Ortega, at Mr.

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Singer's address which is on file as part of his appearance in
this case; (4) compelling the Plaintiff, Young Again, to execute
and serve proper answers to Defendant Acord's written interroga-
tories with verification, under oath, based on personal know-
ledge, in compliance with Rule 33, Federal Rules of Civil Proce-
dure, instanter, or on such date and time as the Court deems
just; (4) setting the time and place for the taking of the depo-~
sitions of the corporate agents and executives of Plaintiff,
Young Again, Roger Mason and Ivey Mason, and witnesses, Jane
Batts King and Vickie Pitts; (5) granting a reasonable extension
of the discovery deadline in this case so as to allow ample time
for receipt of discovery and production from Plaintiff, Young
Again, and to enable Defendant Acord's counsel sufficient time to
utilize such discovery in the taking and completion of the depo-
sitions requested; (6) awarding reasonable costs and attorney's
fees against Plaintiff, Young Again, under Rule 37 for the ne-
cessity of the preparation, filing, and presentation of this
motion; and (7) awarding Defendant Acord such other and further
relief, both in law and in equity, to which he may show himself
to be justly entitled.
Respectfully submitted,

S/ Joe Alfred Izen, Jr.

 

Joe Alfred Izen, Jr.
Attorney for Defendant
5222 Spruce Street
Bellaire, Texas 77401
(713) 668-8815

(713) 668-9402 FAX

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CERTIFICATE OF CONFERENCE

This Motion IS OPPOSED.

S/ Joe Alfred Izen, Jr.

 

Joe Alfred Izen, Jr.

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing
document was sent to the following parties by electronic trans-
mission on the 3rd day of April, 2008:

Margaret M. McClure,
909 Fannin, Suite 3810
Houston, TX 77010

Randall A. Rios

Munsch Hardt Kopf

700 Louisiana, Suite 4600
Houston, Texas 77002-2732

ACORDISC.M2C/TK402

Ellen Maresh Hickman

US Trustee

515 Rusk St., Suite 3516
Houston, Texas 77002

Robert Singer
4550 Post Oak Place, Suite 175
Houston, Texas 77027-3134

S/ Joe Alfred Izen, Jr.

 

Joe Alfred Izen, Jr.

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
AT HOUSTON, TEXAS

IN RE: SUPPLEMENT SPOT, LLC, §
DEBTOR, § CASE NO. 06-35903
§ CHAPTER 11
YOUNG AGAIN PRODUCTS, INC., §
Plaintiff, §
§
VS. § ADVERSARY NO. 07-3019
§
SUPPLEMENT SPOT, LLC, ET AL, §
Defendants, §
ORDER ON

DEFENDANT, JOHN ACORD'S, MOTION TO COMPEL DISCOVERY
AND DEPOSITIONS AND TO ENLARGE TIME FOR COMPLETION OF DISCOVERY

 

BEFORE the Court on this the _ day of April, 2008, came on
to be heard the Motion of the Defendant, John Acord, to Compel
Discovery and Depositions and to Enlarge Time for Completion of
Discovery and the Court, after due consideration of same, is of
the opinion that the Motion SHOULD / SHOULD NOT BE GRANTED. It
is therefore;

ORDERED that Plaintiff, Young Again, IS / IS NOT DIRECTED to
produce all documents in its possession, custody, and control,
responsive to Defendant Acord's Requests for Production and the
Trustee, Ben Floyd's, Subpoena at a date and time certain

. It

 

is further;

ORDERED that Plaintiff, Young Again, IS / IS NOT DIRECTED to
provide a description of the number of pages of documents, the
copying costs of such documents, and the alleged transportation
costs of such documents, which it claims supports its demand for
payment of $800.00 by the Defendant on or before

It is further;

 
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ORDERED that the Plaintiff, Young Again, IS / IS NOT DIREC-
TED to produce the documents responsive to Defendant Acord's
Request for Production at the offices of Robert Singer, counsel
for Marcella Ortega, at Robert Singer's address which is on file
as part of his appearance in this case at 4550 Post Oak Place,
Suite 175, Houston, Texas 77027-3134 on or before

It is further;

 

ORDERED that the Plaintiff, Young Again, IS/ IS NOT DIRECTED
to execute and serve proper answers to Defendant Acord's written
interrogatories with verification, under oath, based on personal
knowledge, in compliance with Rule 33, Federal Rules of Civil
Procedure, instanter, or on such date and time as the Court deems

just

 

It is further;

 

ORDERED that the time and place for the taking of the depo-
sitions of the corporate agents and executives of Plaintiff,
Young Again, Roger Mason and Ivey Mason, and witnesses, Jane

Batts King and Vickie Pitts is set for

 

. %&It is further;

 

ORDERED that Defendant Acord IS / IS NOT granted a reason-
able extension of the discovery deadline in this case so as to
allow ample time for receipt of discovery and production from
Plaintiff, Young Again, and to enable Defendant Acord's counsel
sufficient time to utilize such discovery in the taking and
completion of the depositions requested to and until

. &iIt is further;

 

ORDERED that Defendant Acord IS / IS NOT AWARDED reasonable
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costs and attorney's fees against Plaintiff, Young Again, under

Rule 37 for the necessity of the preparation, filing, and presen-

 

tation of this motion in the amount of $ to be
paid by .
SIGNED on this the day of April, 2008.

 

JUDGE PRESIDING
